      Case 7:23-cv-01626-KMK-JCM               Document 58 Filed 06/11/24 Page 1 of 3



SEIDEN I LAW
June 11 , 2024

VIA ECF and EMAIL                                        Courtesy Copy To:
Hon. Kenneth M. Karas, U.S.D.J.                          Hon. Judith C. McCarthy, U.S .M.J.
The Hon. Charles L. Brieant Jr.                          The Hon. Charles L. Brieant Jr.
Federal Building and United States                       Federal Building and United States
Courthouse                                               Courthouse
300 Quarropas St.                                        300 Quarropas St.
White Plains, New York 10601-4150                        White Plains, New York 10601-4150
KarasNYSDChambers(a),nvsd. uscourts. gov                 McCarthv NYSDchambers@nysd. uscourts.
                                                         gov

       Re: Bf1-ker v. Powell, et al., Case No. 7:23-CV-01626 (KMK)(JCM)

Dear Judge Kenneth M. Karas:

        Pro bono counsel, Seiden Law LLP, and nonprofit Prisoners Legal Services of New York
represent plaintiff Kristine Baker ("Plaintiff') in the above-referenced matter (the "Action").
With the consent of the undersigned counsel for defendants Raldino Powell ("Defendant
Powell"), Ellen Gomprecht ("Defendant Gomprecht"), and Amy Lamanna ("Defendant
Lamanna;" all defendants together, "Defendants;" and together with Plaintiff, the "Parties"),
the Parties write jointly to update the Court on the status of discovery and to respectfully request
an extension of the discovery schedule set forth in the Case Management and Scheduling Order,
as most recently extended on March 26, 2024 (the "Scheduling Order") (Dkt. 51).

Status of Discovery

        Since the Court' s last discovery extension, the Parties have remained in an ongoing
dialogue to expedite and finalize the production of documents. Accordingly, the Parties (with the
assistance of Magistrate McCarthy) negotiated and finalized ESI search terms, which resulted in
a review set of approximately 13,000 documents ("ESI Documents"). Immediately upon
finalizing search terms, the Parties met and conferred to discuss the terms of the Office of the
Attorney General's ("OAG") usage of "technology assisted review" and contract attorneys to
complete the review of the ESI Documents. After this meet and confer, OAG agreed to
presumptively mark a few categories of search terms as presumptively responsive and would,
therefore, only review the related ESI Documents for privilege. The Parties anticipate receiving
the production ofresponsive and non-privileged ESI documents on or before June 14, 2024.

        In addition to the ESI Documents, the Parties have continued to produce documents and
have remained active in negotiating any deficiencies within productions. For example, Plaintiff
has requested Defendant Powell produce certain metadata in relation to Defendant Powell' s cell
phone carrier and Gmail account, which is directly relevant to both Plaintiffs allegations against
Defendant Powell and his defenses thereto. Similarly, Plaintiff has requested OAG produce
specific metadata from various phone call recordings obtained and analyzed during the course of


       322 Eighth Avenue, Suite 1200, New York, NY 10001 USA I +1.212 .523.0686 I www .seidenlaw .com
      Case 7:23-cv-01626-KMK-JCM             Document 58 Filed 06/11/24 Page 2 of 3

SEIDEN I LAW
the Office of Special Investigation's ("OSI") investigation into Plaintiffs allegations of sexual
abuse asserted against Defendant Powell. The metadata requested (e.g., the date of the phone
call, the phone numbers associated with the phone call, the incarcerated individual that placed the
phone call, etc.) were confirmed to exist at the FRCP 30(b)(6) deposition of the Department of
Corrections and Community Supervision ("DOCCS"). Despite the efforts of counsel, and
notwithstanding the expected production of the ESI Documents on June 14, 2024, OAG informed
Plaintiff that DOC CS had requested an additional three-weeks (around the end of June) to produce
the outstanding documents (to the extent they exist), including numerous deficiencies that
Plaintiff has requested be remedied (some of which date back to January 2024).

       Finally, despite not having the ESI Documents or a substantially complete set of
documents, the Parties have made efforts to proceed with discovery. To date, Plaintiff has
completed two depositions: the FRCP 30(b)( 6) deposition of DOC CS and the deposition of fact
witness Dr. Wanda Bates - an Office of Mental Health Psychologist.

Scheduling Conflicts

        Although the Parties have made substantial efforts to complete discovery within the
current schedule, the Parties have serious concerns about doing so. First, the Parties are likely
going to conduct at least nine additional fact witness depositions. Specifically, Plaintiff intends
to conduct at least six additional fact witness depositions, including Defendants, OSI investigators
Christian Nunez and Zachary Thornton, and Bedford Hills Correctional Facility Asst. Deputy
Supt. PREA Compliance Manager Elaine Velez. Defendants intend to complete three additional
fact witness depositions, including Plaintiff, and Plaintiffs parents (Hope and Charles Baker).

       Plaintiff has been prevented from moving forward with the aforementioned six
depositions because of DOC CS' delay over the production of crucial documents. Plaintiff requires
these documents in order to complete the remaining six depositions and has proceeded with as
many depositions as possible without these documents.

       Additionally, even if all document production is completed immediately and no
production related disputes arise, the Parties respective trial and personal schedules are conflicting
and will prohibit the completion of depositions within the current schedule. Notably, Attorney
DeMarco, as a solo-practitioner, is on trial the second half of June and cannot delegate his trial
responsibilities to another attorney. Similarly, lead trial counsel for Plaintiff, Seiden Law, will
be conducting an in-person arbitration hearing in Philadelphia during the majority of July.

       At this time, it is not practicable to complete depositions within the current discovery
schedule. Accordingly, the Parties are requesting the below referenced extension. The current
deadlines and proposed extended deadlines are shown in the chart below:




                                                  2
      Case 7:23-cv-01626-KMK-JCM                 Document 58 Filed 06/11/24 Page 3 of 3

SEIDEN I LAW
                                            Current Dead~               rProposedl New Deadline
     Requests to Admit                     June,4,2024                October 1, 2024
     All fact discovery                    July 31, 2024              October 15, 2024

     Plaintiffs expert reports             July 31, 2024              November 15, 2024

     Defendants' expert reports            August 31, 2024            December 13, 2024
     Movant's Pre-Motion Letter            September 25, 2024         January 7, 2025
     due
     Non-Movant's Response                 October 2, 2024            January 15, 2025
     Completion of All Expert              September 30, 2024         January 15, 2025
     Disclosures


LETITIA JAMES
Attorney General of the State
of New York                                                 SEIDEN LAW LLP

ls/Neil Shevlin                                             ls/Michael Stolper
Neil Shevlin, Esq.                                           Michael Stolper
Assistant Attorney General                                   Priya Lehal
28 Liberty Street, 18 th Fl.                                 MarcAnthony Bonanno
New York, New York 10005                                     322 Eighth Avenue, Suite 1200
(212) 416-8561                                               New York, New York 10001
Neil. Shevlin@),ag.nv.gov                                    (646) 766-1914
Counsel for Defendants                                       mstolper(a),seidenlaw.com
                                                             plehal@,seidenlaw.com
                                                             mbonanno@seidenlaw.com
                                                             Counsel for Plaintiff

LAW OFFICE OF
MARIO DEMARCO PC                                            PRISONERS' LEGAL SERVICES

ls/Mario DeMarco                                            /s/Krin Flaherty
Mario DeMarco, Esq.                                         Krin Flaherty, Esq.
One Gateway Plaza                                           Megan Welch, Esq.
Port Chester, New York 10573                                114 Prospect Street
(914)-937-2213                                              Ithaca, New York 14850
demarcomario@aol.com                                        (607) 273--2283
Counsel for Defendant Powell                                kflaherty@plsny.org
                                                            mwelch(a),plsnv .org
                                                            Counsel for Plaintiff
        The revised discovery schedule is approved, but there will be no further
        extensions. The next case management conference will be 2/      l2,  /25, at /   0: 3 O



                                                       3
